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EXhibit 1

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case No. l4-cv-21559-Ungarof0tazo-Reyes
BRIAN MORGAN,
on behalf of himself and all others
similarly situated,
Plaintiffs,

V.

PUBLIC STORAGE, a Maryland CLASS ACTION
Rea| Estate lnvestment Trust,

Defendant.
f

SUPPLEMENTAL DECLARATION OF ERIC SCHACHTER

l. l am a Vice Presidem ofA.B. Data_, Ltd.’s Class Action Administration Company
(“"A.B.Data"), whose corporate office is located in Milwaul<ee, Wisconsin. Pursuant to the
Court’s Order Prelirninarily Approving Class Settlement, Certifying Settlement Class, and
Approving Notice Program, entered October 21_, 2015 (the "‘Pre|iminary Approval Order”),
A.B. Data was authorized to act as the Claims Adn‘)inistratorl in connection with the Settlement
in the above-captioned lawsuit l am over 21 years of age and I am not a party to this lawsuit. l
have personal knowledge of the facts set forth herein and_, if called as a witness, would testify

competently thereto.

 

lCapitalized terms not defined in this Declaration shall have the meanings set forth in the
Settlement Agreement and Release (the "‘Settlement Agreement”) executed between the parties
on October 9, 2015, and the Preliminary Approval Order.

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THE NOTICE PROGRAM

2. As more fully detailed in my Dec|aration of Eric Schachter filed with the Court on
.|anuary 15, 2016 (the “Notice Declaration"), A.B. Data was responsible for implementing thc
Notice Program to provide notice to Settlement Class Members. The Notice Program consisted
of (l) email notice to Settlement Class Members for whom Public Storage had email addresses
(“Email Notice"); (2) postcard notice to Settlement Class Members for whom Public Storage did
not have email addresses ("Mailed Notice"`); (3) publication notice designed to reach those
Settlement Class Members for whom direct mail or email notice was not possible or successful

(“Published Notice"'); and (4) a long-form notice with more detail than the email, postcard, and

publication notices available on the Settlement Website
twww.publicstorageinsurancelawsuit.com) ("'Long-Form Notice"").
3. To ensure deliverability for the Email Notice, A.B. Data utilized a third-party

vendor that specializes in mass email notifications. A.B. Data has utilized this vendor in other
class action notice programs
4. A.B. Data’s account with this vendor is preapproved to send the Email Notice

from specific IP pools that are used solely for legal-relatedfCourt-authorized emails to avoid

spam filters.

5. A.B. Data used a number of best practices to ensure deliverability and to be in
compliance with the CAN-SPAM Act. For example, a) the Email Notice contained text only with
no attachments to the Email Notice that would unnecessarily trigger sparn filters; b) the ""From"`
email address was an actual, valid_. and operational email address; c) the subject line of the Email

Notice avoided certain sparn-centric phrases and included the case caption as an accurate

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description of the subject of the email; and d) the Email Notice contained an option via which
recipients could "‘unsubscribe” from future emails.

6. As detailed in the Notice Declaration, approximately 24% of the Mailed Notices

were retumed by the United States Postal Service as undeliverable as addressed (“UAA"`).
Comparatively, approximately ll% of the Email Notices were not delivered because the email
addresses of record concerned were no longer valid.

?. A.B. Data also established a toll-free telephone number that was posted on the
Settlement Website (www.publicstoraaeinsurancclawsuit.com) that Class members could call
and via which they could hear prerecorded messages containing information also set forth in the
Long-Form Notice. The toll-free telephone number was 866-217-4455. At the end of the main
prerecorded message, the Class member could leave a message and an employee from A.B. Data
with knowledge about the lawsuit and Settlement would return the Class member’s call.

8. The Settlement Websitc (www.publicstorageinsurancelawsuit.com) was created to
provide Class members with detailed information about the lawsuit, including various orders and
pleadings. ln addition, the Settlement chsite contained certain terms to ensure that when the
terms "‘Public Storage" and "‘Lawsuit” were searched through Google, the Settlement Website

would be listed on the first page of Google results.

Executed this lOth day of February 2016.

Eric Sc-hachter

